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                    IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

MLU SERVICES, INC.                                 ) Civil Action No. 10-CV-1531 N/5
                                                   )
                                Plaintiff          )
v.                                                 ) Judge Kurt D. Engelhardt
                                                   )
LANDMARK AMERICAN                                  ) Magistrate Judge Alma Chasez
INSURANCE COMPANY                                  )
                                                   )
                                Defendant          )
                                                   )
This Case Relates To:
In re: FEMA Trailer Formaldehyde Products
       Liability Litigation – MDL No. 1873


                                       ORDER

        Considering the foregoing Motion to Dismiss without Prejudice;

        IT IS HEREBY ORDERED that all matters, causes of action, and claims in this

controversy be and the same are hereby dismissed and discontinued, without prejudice,

each party to bear
       Hello  This its
                    is aown
                         Testcosts.
        New Orleans, Louisiana this _____day  June
                                     24th of __________, 2010.



                                            _______________________________
                                                        JUDGE
